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IN THE UNITED STATES DISTRICT COUR
FOR THE EASTERN DISTRICT OF TEXAS

TYLER DIVISION

UNITED STATES OF AMERICA §

VS. NO. 6:09CR | 22
CHRISTOPHER HULL

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INDICTMENT

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The United States Grand Jury Charges:

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Count 1

 

VIOLATION: 18 U.S.C. §§ 2252(a)(2) & 2252(b)(1) ( Ss
(Distribution of material involving the sexual exploitation of minors)

On or about December 31, 2008, in the Eastern District of Texas, the defendant,
‘CHRISTOPHER HULL, knowingly distributed in interstate and foreign commerce, visual
depictions, specifically computer files containing images that had been transported in
interstate and foreign commerce and which were produced using materials which had been
mailed and shipped and transported in interstate and foreign commerce, the-production of
which involved the use of a person under the age of eighteen engaging in sexually explicit

conduct, and which visual depictions were of such conduct, all in violation of 18 U.S.C. $§

2252 (a)(2) and 2252(b)(1).
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Count 2

VIOLATION: 18 U.S.C. §§ 2252(a)(4\(B) & 2252(b)(2)
(Possession of material involving the sexual exploitation of minors)

On or about March 12, 2009, in the Eastern District of Texas, the defendant,
CHRISTOPHER HULL, did knowingly possess computer equipment with a hard disk which
contained one(1) or more visual depictions, the production of which involved the use of a
minor engaging in sexually explicit conduct, and which visual depictions ‘were of such
conduct, which visual depictions had been shipped and transported in interstate and foreign
commerce and which were produced using materials which had been mailed and shipped and
transported in interstate and foreign commerce, all in violation of 18 U.S.C. §§ 2252(a)(4)(B)

and 2252(b)(2).

A TRUE BILL

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GRAND JURY FOREMAN

JOHN M. BALES

 

 

UNITED STATES ATTORNEY

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BILL BALDWIN ood

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INDICTMENT PAGE 2
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NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
Criminal Forfeiture Pursuant to 18 U.S.C. § 2253

Based upon the commission of the offenses alleged in this Indictment, all in violation
of the laws of the United States relating to materials involving the sexual exploitation of
minors, the Defendant shall forfeit to the United States his interest in the following property,
including, but not limited to the following: Dell Optiplex GX280, service tag # HYT1R61
Said property is forfeitable pursuant to 18 U.S.C. § 2253(a) based upon said property being:

any visual depiction described in section...2252 of this chapter, or any
book, magazine, periodical, film, videotape, or other matter which
contains any such visual depiction, which was produced, transported,

mailed, shipped or received in violation of this chapter;

any property, real or personal, constituting or traceable to gross profits
or other proceeds obtained from such offense; and

any property, real or personal, used or intended to be used to commit or
to promote the commission of such offense.

By virtue of the commission of the offenses alleged in this Indictment, any and all interest

the Defendant has in the above-described property is vested in the United States and hereby

forfeited to the United States pursuant to 18 U.S.C. § 2253.

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NOTICE OF PENALTY
Count 1

Violation: Title 18, United States Code, Sections 2252 (a)(2) and
2252(b)(1) (Distribution of material involving the sexual
exploitation of minors)

Penalty: A fine of not more than $250,000; imprisonment for not less
than 5 years nor more than 20 years; a term of supervised release
of not more than 3 years.

Special Assessment: $100.00
Count 2
Violation: -Title 18, United States Code, Sections 2252(a)(4)(B) and

2252(b)(2) (Possession of material involving the sexual
exploitation of minors)

Penalty: A fine of not more than $250,000; imprisonment for not more
than 10 years, a term of supervised release of not more than 3
years.

Special Assessment: $100.00

NOTICE OF PENALTY
